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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  SOUTHERN DIVISION


STERLING RAHEEM JULES                                                                   PLAINTIFF

VERSUS                                                     CIVIL ACTION NO. 1:15CV315-RHW

EVAN HUBBARD et al                                                                  DEFENDANTS

                         MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendants' motion to dismiss for lack of prosecution,

or in the alternative, for an order to show cause. Doc. [61]. Plaintiff Sterling Raheem Jules,

proceeding pro se and in forma pauperis, filed a 42 U.S.C. § 1983 prisoner civil rights

complaint. In his complaint, he named 21 different defendants and alleged excessive force, due

process violations, and inadequate medical care. On April 5, 2016, the Court conducted a

screening hearing and set deadlines for the completion of discovery and filing dispositive

motions. Minute Entry (4/5/2016); Text Only Scheduling Order (4/5/2016). The parties also

consented to jurisdiction before a United States Magistrate Judge. Doc. [48]. The Court later

amended the scheduling order to establish a discovery deadline of October 6, 2016, and a

motions deadline of October 28, 2016. Text Only Order (7/22/2016).

       On August 16, 2016, Defendants filed a motion to compel written discovery responses.

Doc. [59]. Defendants had propounded discovery on June 7, 2016. Doc. [55], [56] & [57]. As

of August 16, 2016, Plaintiff had failed to respond to the discovery requests. Counsel for

Defendants sent a good faith certificate to Plaintiff on July 21, 2016, to which Plaintiff did not

respond. Doc. [59-4]. On August 22, 2016, The Court granted Defendants' motion to compel

and established a deadline of September 12, 2016 for Plaintiff to serve Defendants with complete
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responses to their discovery requests. Doc. [60]. In the order, the Court cautioned Plaintiff that

failure to participate fully and meaningfully in discovery and/or to comply with the Court's orders

will result in his lawsuit being dismissed for failure to prosecute. Id.

          On September 15, 2016, Defendants filed the instant motion to dismiss and argued that

Plaintiff had failed to comply with the Court's order of August 22, 2016. Doc. [61]. A review of

the docket reveals that Plaintiff has not filed a response in opposition to the motion to dismiss.

Nor has he filed notices indicating service of discovery responses at any point in the litigation

process. Based on Plaintiff's failure to participate in discovery whatsoever and based on his

failure to respond to Defendants' motion or to the Court's orders, the Court concludes that he has

lost interest in pursuing this litigation. Accordingly, pursuant to Fed. R. Civ. P. 41(b), the Court

finds that Plaintiff's complaint should be dismissed without prejudice for failure to prosecute his

claims.

          IT IS THEREFORE ORDERED AND ADJUDGED that Defendants' [61] Motion to

Dismiss is GRANTED and that Plaintiff's complaint is dismissed without prejudice as to all

claims and all Defendants.

          IT IS FURTHER ORDERED that, in light of the Court's dismissal of Plaintiff's

complaint, Defendants [61] Motion to Show Cause and [65] Motion to Extend Deadline are

found to MOOT.

          SO ORDERED, this the 24th day of October, 2016.



                                                       /s/   Robert H. Walker
                                                       ROBERT H. WALKER
                                                       UNITED STATES MAGISTRATE JUDGE


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